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                                                          United States District Court
                                                          Central District of California


 UNITED STATES OF AMERICA vs.                                                  Docket No.              SACR 20-03-MWF

 Defendant     Daniel Gonzalez Sanchez                                         Social Security No. N          O      N      E
       Erick Gonzalez; Carlos Gonzalez; Daniel
                                                                               (Last 4 digits)
 akas: Gonzalez; Daniel Gonzalez-Sanchez

                                            JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                         MONTH     DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         MAY        27      2020


 COUNSEL                                                                    DFPD Andrea Jacobs
                                                                               (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.            NOLO                    NOT
                                                                                                                  CONTENDERE                GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1: Illegal Alien Found in the United States Following Deportation in violation of 8 U.S.C. §§ 1326(a).
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid balance shall
be paid at $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program.
Pursuant to Section 5E1.2(e) of the Guidelines, all fines are waived, as it is found that defendant does not have the ability to pay a fine.
Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant DANIEL GONZALEZ SANCHEZ is hereby
committed on the single-count information to the custody of the Bureau of Prisons to be imprisoned for a term of 30 months.
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following terms and
conditions:

         1.           The defendant shall comply with the rules and regulations of the United States Probation and Pretrial Services Office and
                      General Order 20-4, including, but not limited to, the condition that defendant shall not commit another federal, state or local
                      crime.

         2.           The defendant shall refrain from any unlawful use of a controlled substance. As directed by the Probation Officer, the
                      defendant shall submit to one drug test within 15 days of release from imprisonment. Thereafter, defendant shall also submit
                      to periodic drug testing as directed by the Probation Officer, not to exceed eight drug tests per month.

         3.           The defendant shall comply with the immigration rules and regulations of the United States, and when deported or removed
                      from this country, either voluntarily or involuntarily, not re-enter the United States illegally. The defendant is not required to
                      report to the Probation Office while residing outside of the United States; however, within 72 hours of release from any
                      custody or any re-entry to the United States during the period of Court-ordered supervision, the defendant shall report for
                      instructions to the United States Probation and Pretrial Services Office located at the Roybal Federal Building, 255 East
                      Temple Street, Los Angeles, California 90012.

         4.           The defendant shall not obtain or possess any driver’s license, Social Security number, birth certificate, passport, or any other
                      form of identification in any name, other than the defendant’s true legal name, without the prior written approval of the
                      Probation Officer; nor shall the defendant use, for any purpose or in any manner, any name other than his true legal name.

         5.           The defendant shall cooperate in the collection of a DNA sample from the defendant.

The defendant is advised of his right to appeal.

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The Court recommends the defendant to designated to a facility located in Southern California to remain close to family and consistent with the
management of COVID-19.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 4, 2020
            Date                                                           Honorable Michael W. Fitzgerald
                                                                           U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            June 4, 2020                                            By     Rita Sanchez /s/
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                    specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                    defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable                  probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before              requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated              15.    The defendant must follow the instructions of the probation officer
       change;                                                                             to implement the orders of the court, afford adequate deterrence from
                                                                                           criminal conduct, protect the public from further crimes of the
                                                                                           defendant; and provide the defendant with needed educational or
                                                                                           vocational training, medical care, or other correctional treatment in
                                                                                           the most effective manner.



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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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